     Case 2:20-cv-01940-MTL        Document 36   Filed 03/03/21   Page 1 of 49




 1   Eric E. Lynch (SBN #25049)
     Jonathan G. Brinson (SBN #025045)
 2
     Michelle M. Buckley (SBN# 030617)
 3   John R. Posthumus (Pro Hac Vice)
     Polsinelli PC
 4   One East Washington St., Suite 1200
 5   Phoenix, AZ 85004
     Telephone: (602) 650-2000
 6   Facsimile: (602) 264-7033
     elynch@polsinelli.com
 7
     mmbuckley@polsinelli.com
 8
     Daniel M. Petrocelli (Pro Hac Vice)
 9   Jeffrey A. Barker (Pro Hac Vice)
     O’Melveny & Myers LLP
10
     1999 Avenue of the Stars, 8th Floor
11   Los Angeles, CA 90067
     Telephone: (310) 553-6700
12   Facsimile: (310) 246-6779
13   dpetrocelli@omm.com
     jbarker@omm.com
14
     Attorneys for Plaintiffs Discovery Land Company, LLC
15
     and Discovery Design, LLC
16
                       IN THE UNITED STATES DISTRICT COURT
17
                                FOR THE DISTRICT OF ARIZONA
18
19   Discovery Land Company, LLC;                Case No: CV-20-01940-PHX-MTL
     Discovery Design, LLC,
20
21                Plaintiffs,                    AMENDED VERIFIED COMPLAINT
22   v.
                                                 JURY TRIAL DEMANDED
23   Discovery Global, LLC; Discovery
     Global Management Services, LLC;
24
     Denton House Interiors, Inc.; Areté
25   Collective, LP; AC Management GP,
     LLC; Rebecca Buchan; Joseph Buchan;
26   Cory Pace; and Does 1-20,
27
                         Defendants.
28

     76991854.1
     Case 2:20-cv-01940-MTL         Document 36       Filed 03/03/21     Page 2 of 49




 1            Plaintiffs Discovery Land Company, LLC (“DLC”) and Discovery Design, LLC
 2   (“Discovery Design”) (collectively, “Plaintiffs”) state the following for their Complaint
 3   against Defendants Discovery Global, LLC, Discovery Global Management Services,
 4   LLC, Denton House Interiors, Inc., Areté Collective, LP, AC Management GP, LLC,
 5   Rebecca Buchan, Joseph Buchan, Cory Pace and Does 1-20 (collectively, “Defendants”):
 6                                   NATURE OF THE CASE
 7            1.      Although originally instituted to address the theft and misuse of DLC’s
 8   valuable trademarks and trade secrets, this action now additionally seeks to redress the
 9   broader abuse of Plaintiffs’ trust and confidence by former agents who sought to line their
10   own pockets and create a competing business at Plaintiffs’ expense, all while using
11   Plaintiffs’ property and disseminating a raft of false and misleading communications to
12   Plaintiffs’ actual and potential business partners and customers.
13            2.      Rebecca Buchan—a trusted business associate who voluntarily undertook
14   to serve at various times as the Chief Operating Officer of DLC and the President of
15   Discovery Design—apparently became unsatisfied with her existing relationships with
16   Plaintiffs and their principals. Although Ms. Buchan, her husband and their company,
17   Denton House Interiors, Inc. had been paid approximately $60 million over the previous
18   five years as a result of their work with Plaintiffs, Ms. Buchan wanted more. And, as
19   detailed herein, she sought to do so by installing her friends and family in positions with
20   Plaintiffs, and then using her own position and theirs to conduct numerous deceitful and
21   harmful acts to the benefit of her, them, and her companies, all to the extreme detriment
22   of Plaintiffs.
23            3.      Accordingly, Plaintiffs bring this action at law and in equity for: (1)
24   trademark infringement under the Lanham Act, 15 U.S.C. § 1114; (2) unfair competition
25   and false designation of origin under 15 U.S.C. § 1125(a); (3) trademark dilution under
26   A.R.S. § 44-1448.01; (4) common law trademark infringement and unfair competition;
27   (5) false and misleading advertising and promotion under 15 U.S.C. § 1125(a); (6)
28   misappropriation of trade secrets under 18 U.S.C. § 1836; (7) misappropriation of trade
                                                  2
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36       Filed 03/03/21   Page 3 of 49




 1   secrets under A.R.S. §§ 44-401 to 44-407; (8) unjust enrichment; (9-10) multiple breaches
 2   of fiduciary duty; (11) professional negligence; and (12) aiding and abetting tortious
 3   conduct.
 4                                            PARTIES
 5            4.    Plaintiff DLC is a Delaware limited liability company with its principal
 6   place of business at 14605 N. 73rd Street, Scottsdale, AZ 85260.
 7            5.    Plaintiff Discovery Design is a Delaware limited liability company with its
 8   principal place of business at 14605 N. 73rd Street, Scottsdale, AZ 85260.
 9            6.    Defendant Discovery Global, LLC (“DG”) is a Delaware limited liability
10   company with its principal place of business at 4670 South Holladay Village Plaza, Suite
11   200, Salt Lake City, Utah 84117.
12            7.    Defendant Discovery Global Management Services, LLC (“DGM”) is a
13   Delaware limited liability company with its principal place of business at 4670 South
14   Holladay Village Plaza, Suite 200, Salt Lake City, Utah 84117.
15            8.    DGM is the sole managing-member of DG.
16            9.    Defendant Denton House Interiors, Inc. (“Denton House”) is a Utah
17   corporation with its principal place of business at 4670 South Holladay Village Plaza,
18   Suite 200, Salt Lake City, Utah 84117.
19            10.   Defendant Areté Collective, LP (“AC”) is a Utah limited partnership with
20   its principal place of business at 4670 South Holladay Village Plaza, Suite 200, Salt Lake
21   City, Utah 84117.
22            11.   Defendant AC Management GP, LLC (“ACM”) is a Utah limited liability
23   company with its principal place of business at 4670 South Holladay Village Plaza, Suite
24   200, Salt Lake City, Utah 84117.
25            12.   ACM is the general partner of AC.
26            13.   Defendant Rebecca Buchan (“Buchan”) is the founder and Chief Executive
27   Officer of Denton House and AC, the sole managing-member of DGM, and upon
28   information and belief, the managing-member of ACM. At all times relevant to the
                                                 3
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36         Filed 03/03/21   Page 4 of 49




 1   claims set forth herein, Buchan was authorized to and did act as the agent and
 2   representative of Denton House, DG, DGM, AC, and/or ACM. Buchan also previously
 3   rendered services to Plaintiffs as the Chief Operating Officer of DLC and President of
 4   Discovery Design.
 5            14.   Defendant Joseph Buchan is the Chief Financial Officer of Denton House
 6   and, upon information and belief, also serves in a similar capacity at AC. At all times
 7   relevant to the claims set forth herein, Joseph Buchan was authorized to and did act as the
 8   agent and representative of at least Denton House.
 9            15.   Defendants Rebecca Buchan and Joseph Buchan are a married couple
10   domiciled in Utah. All of the wrongful individual conduct alleged herein by Buchan and
11   Joey Buchan was taken on behalf of, and to benefit, their martial community.
12            16.   Defendant Cory Pace (“Pace”) is an individual who resides in Maricopa
13   County, Arizona and previously served as the Vice President of Finance for Discovery
14   Design at Discovery Design’s offices in Arizona. Pace is also licensed as a Certified
15   Public Accountant in the State of Arizona.
16            17.   Defendants Does 1 through 20 (“Fictitious Defendants”) are those
17   individuals or entities that are, and were at all times material hereto, alter egos, partners,
18   joint venturers, instrumentalities, predecessors, successors, principals, or agents of the
19   named Defendants or Fictitious Defendants and are in some manner legally liable to
20   Plaintiffs in this action. Plaintiffs will seek leave to amend their Complaint when the true
21   names of the Fictitious Defendants become known.
22                                JURISDICTION AND VENUE
23            18.   This Court has subject matter jurisdiction over the claims asserted herein
24   pursuant to 28 U.S.C. §§ 1331, 1338(a) and (b), and supplemental jurisdiction over the
25   claims arising under the state and common law pursuant to 28 U.S.C. § 1367(a) because
26   those claims are so related to Plaintiffs’ Lanham Act claims and the Defend Trade Secrets
27   Act claim that they form part of the same case in controversy.
28            19.   Venue is proper in the District of Arizona under 28 U.S.C. § 1391(b)
                                                   4
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36        Filed 03/03/21   Page 5 of 49




 1   because a substantial part of the acts giving rise to this cause of action occurred within
 2   this District. Defendants have committed and are committing numerous tortious acts
 3   designed to intentionally and maliciously interfere with and to disrupt the business
 4   operations of Plaintiffs in this District. Defendants have breached fiduciary duties,
 5   engaged in negligent acts, aided and abetted tortious conduct and/or have committed (and
 6   are continuing to commit) acts of unfair competition, false and misleading advertising,
 7   dilution of and infringement of DLC’s trademarks, misappropriation of DLC’s trade
 8   secrets.
 9            20.   This Court has personal jurisdiction over each of the Defendants for the acts
10   underlying the basis for this Complaint by virtue of having sufficient minimum contacts
11   within the State of Arizona, in accordance with the broadest reach of and consistent with
12   Arizona’s Long Arm Statute as follows:
13            a.    DG and DGM (collectively, the “DG Defendants”), with knowledge of
14   Plaintiffs’ presence in this District and intending to cause harm to Plaintiffs in this
15   District, have purposefully and intentionally: (i) directed communications to Plaintiff and,
16   upon information and belief, others in Arizona using the DISCOVERY marks and the
17   “Discovery Global” name/mark after being informed by DLC to cease doing so; (ii)
18   pursued business opportunities in Arizona (i.e., a development project in Sedona,
19   Arizona) and, upon information and belief, sent communications to consumers in Arizona
20   in furtherance of such business; (iii) worked directly with Plaintiffs’ executives in
21   Arizona intending to establish a business venture with continuing and wide-reaching
22   contacts in the forum; (iv) upon information and belief, solicited business from customers
23   and potential customers of Plaintiffs in Arizona using the DISCOVERY marks; (v) upon
24   information and belief, held themselves out to third parties in Arizona as affiliated with
25   Plaintiffs without authorization; (vi) threatened to use and, upon information and belief,
26   have used DLC’s confidential trade secret information to solicit actual and prospective
27   customers in Arizona; (vii) have used DLC’s trademarks and trade secret information,
28   rightfully vested in DLC and which DLC manages and controls in Arizona; (viii)
                                                  5
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36         Filed 03/03/21   Page 6 of 49




 1   committed acts of unfair competition, dilution and infringement of DLC’s trademarks
 2   causing harm to DLC and/or others in Arizona that are related to or who are customers of
 3   Plaintiffs and rely upon DLC to police and protect the goodwill associated with the
 4   DISCOVERY marks; (ix) have unjustly enriched themselves by misappropriating DLC’s
 5   goodwill, reputation, trademarks and financial contributions in this District; and (x)
 6   availed themselves of this Court’s jurisdiction through their systematic tortious acts
 7   directed towards Plaintiffs as well as their established efforts and commercial ambitions
 8   to conduct business in Arizona such that the DG Defendants should have expected that
 9   their actions would subject them to this Court’s jurisdiction.
10            b.   AC and ACM (collectively, the “AC Defendants”), with knowledge of
11   Plaintiffs’ presence in this District and intending to cause harm to Plaintiffs in this
12   District, have purposefully and intentionally: (i) pursued business opportunities in
13   Arizona (i.e., a development project in Sedona, Arizona and a “strategic relationship”
14   with an Arizona-based provider of hotel asset management and owner advisory services)
15   and, upon information and belief, sent communications to consumers in Arizona in
16   furtherance of such business; (ii) upon information and belief, solicited business from
17   consumers in Arizona using false and misleading advertisements and promotional
18   materials; (iii) threatened to use and, upon information and belief, have used DLC’s
19   confidential trade secret information to solicit DLC’s actual and prospective customers in
20   Arizona; and (iv) availed themselves of this Court’s jurisdiction through systematic
21   tortious acts directed towards Plaintiffs as well as established efforts and commercial
22   ambitions to conduct business in Arizona such that the AC Defendants should have
23   expected that their actions would subject them to this Court’s jurisdiction.
24            c.   The minimum contacts subjecting the DG Defendants and AC Defendants
25   to jurisdiction in this District are imputed to Denton House by virtue of its common
26   enterprise/joint venture relationship with the DG Defendants and AC Defendants.
27            d.   Buchan, with knowledge of Plaintiffs’ presence in this District and
28   intending to cause harm to Plaintiffs in this District, purposefully and intentionally: (i)
                                                  6
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36        Filed 03/03/21   Page 7 of 49




 1   agreed to and, in fact, performed services in this District as an executive and authorized
 2   agent for Plaintiffs, subject to Plaintiffs’ control; (ii) routinely traveled to Arizona in
 3   furtherance of Plaintiffs’ business activities; and (iii) maintained regular (often daily) e-
 4   mail and telephone contact with Plaintiffs’ Arizona offices, directly supervised Plaintiffs’
 5   employees in Arizona, worked in tandem with Plaintiffs’ executives in Arizona and
 6   reported to Plaintiffs’ executives in Arizona.
 7            e.    Pace resides within this District and, with knowledge of Discovery Design’s
 8   presence in this District and intending to cause harm to Discovery Design in this District,
 9   agreed to and, in fact, performed services in Arizona as an executive and authorized agent
10   for Discovery Design.
11                       COMMON ENTERPRISE / JOINT VENTURE
12            21.   The DG Defendants and Denton House have operated as a common
13   enterprise or joint venture while engaging in the wrongful conduct and other violations
14   of law alleged below. The DG Defendants and Denton House are intimately intertwined
15   companies that work closely together for the common purpose of marketing and selling
16   real estate development services and products. Each company has an interest in making
17   “Discovery Global” a profitable enterprise. The DG Defendants and Denton House have
18   common ownership, officers, and/or managers who exercise control and management of
19   the venture. Because the DG Defendants and Denton House have operated as common
20   enterprise or joint venture, each of them is jointly and severally liable for the acts and
21   practices alleged below.
22            22.   The AC Defendants and Denton House have operated as a common
23   enterprise or joint venture while engaging in the wrongful conduct and other violations
24   of law alleged below. The AC Defendants and Denton House are intimately intertwined
25   companies that work closely together for the common purpose of marketing and selling
26   real estate development services and products. Each company has an interest in making
27   “Areté Collective” a profitable enterprise. The AC Defendants and Denton House have
28   common ownership, officers, and/or managers who exercise control and management of
                                                  7
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36        Filed 03/03/21    Page 8 of 49




 1   the venture. Because the AC Defendants and Denton House have operated as common
 2   enterprise or joint venture, each of them is jointly and severally liable for the acts and
 3   practices alleged below.
 4                                GENERAL ALLEGATIONS
 5   I.       Plaintiffs’ Operations
 6            23.   Founded in 2000 by its Chief Executive Officer, Michael S. Meldman
 7   (“Meldman”), Plaintiff DLC is a full service real estate development company
 8   specializing in private residential club communities and resorts in the U.S. and around the
 9   globe. DLC has grown to be a market leader in the high-end resort residential niche with
10   24+ world-class projects in its portfolio and more forthcoming.
11            24.   DLC has developed private club communities located in: British Columbia,
12   Canada; Comporta, Portugal; Barbuda, West Indies; Austin, Texas; Nashville Tennessee;
13   Rio San Juan, Dominican Republic; Cabo San Lucas, Mexico; Las Vegas, Nevada;
14   Westhampton Beach, New York; Amenia, New York; Maui, Hawaii; Big Sky, Montana;
15   Coeur d’Alene, Idaho; Los Cabos, Mexico; La Quinta, California; Great Guana Cay,
16   Bahamas; Cashiers, North Carolina; La Quinta, California; Westlake, Texas; Kohala,
17   Hawaii; Whitefish, Montana; and Scottsdale, Arizona.
18            25.   DLC is also currently working to expand its portfolio with communities and
19   high-end luxury hotels in the United Kingdom, Ireland, Scandinavia, Switzerland,
20   Germany, Italy, Saudi Arabia, Africa and other locations around the world and U.S.
21            26.   DLC has several affiliates operating under its umbrella and brand,
22   including: Plaintiff Discovery Design, Discovery Builders, LLC (“Discovery Builders”)
23   and a magazine titled Discovery Life.
24            27.   Discovery Design is a separate company that provides furnishings and
25   design/architectural services to its residential and commercial clients at DLC’s club
26   communities. DLC’s other affiliate, Discovery Builders, is a separate homebuilding
27   company that coordinates the design and construction of distinctive finished residences
28   for DLC’s development projects.
                                                 8
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36        Filed 03/03/21   Page 9 of 49




 1   II.      DLC’s Trademarks
 2            28.   DLC owns two federal trademark registrations—one is for the Discovery
 3   Land Company mark and logo, U.S. Reg. No. 4,311,292 (registered on April 2, 2013,
 4   now incontestable) [see Exhibit A], and the second is for the word mark Discovery Land
 5   Company, U.S. Reg. No. 5,622,442 (issued on December 4, 2018) [see Exhibit B]
 6   (collectively, the “DISCOVERY marks”).
 7            29.   DLC’s composite mark was registered on April 2, 2013 and assigned U.S.
 8   Reg. No. 4,311,292. The mark as registered is set forth below:
 9
10
11
12
13
14
15            30.   DLC’s composite mark was first used in commerce as early as 2000 and
16   updated in 2006. As depicted above, the mark includes a mariner’s compass log with
17   compass points and the letter “D” at the center. The mark also includes the stylized word
18   “Discovery” above the words “Land Company.”
19            31.   The composite mark is registered in International Class 37 and covers the
20   following goods and services: “Real estate development, real estate site selection, land
21   development services, namely, development of planned communities and golf courses,
22   planning and laying out of residential communities and golf courses, construction
23   services, namely, planning, laying out and custom construction of residential
24   developments and golf courses, online information services in the fields of the
25   development of planned communities and residential developments and development of
26   recreational facilities and golf courses.” The mark is also registered in International Class
27   41 and covers the following goods and services: “country club services, golf courses,
28   providing recreational facilities for use as golf courses, online information services in the
                                                  9
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36      Filed 03/03/21     Page 10 of 49




 1   field of golf, golf courses, recreational facilities and recreation.” For Class 41, the mark
 2   was first used in commerce on August 8, 2009.
 3            32.   DLC’s U.S. Reg. No. 4,311,292 for the composite mark is now
 4   incontestable. The mark has been in use for five consecutive years subsequent to the date
 5   it was registered, is still in use, there has been no final decision adverse to DLC’s claim
 6   of ownership or right to register, there is no proceeding involving said rights pending and
 7   an affidavit of incontestability was filed with the U.S. Patent and Trademark Office on
 8   April 23, 2018 and acknowledged on May 3, 2018.
 9            33.   DLC’s word mark was first used in commerce as early as 2000. The word
10   mark was registered on December 4, 2018 and assigned U.S. Reg. No. 5,622,442. The
11   mark as registered appears below:
12
13
14            34.   DLC’s word mark is registered in International Class 37 for: “real estate
15   development, real estate site selection, land development services, namely, development
16   of planned communities and golf courses, planning and laying out of residential
17   communities and golf courses, planning and laying out of residential communities,
18   construction services, namely, planning, laying out and custom construction of residential
19   developments and golf courses, online information services in the fields of the
20   development of planned communities and residential developments and development of
21   recreational facilities and golf courses.” The mark is also registered in International Class
22   41 for: “country club services, golf courses, providing recreational facilities in connection
23   with golf and water sports, online information services in the field of golf, golf courses,
24   recreational facilities and recreation.”
25            35.   DLC and its authorized affiliates have continuously and extensively
26   advertised, marketed and promoted their development services and exclusive
27   communities using the DISCOVERY marks in the United States and throughout the
28   world since 2006. DLC has not stopped using the DISCOVERY marks in commerce,
                                                  10
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36       Filed 03/03/21     Page 11 of 49




 1   transferred or assigned ownership of the marks, or abandoned them in any way.
 2            36.   DLC has expanded its related brands over the years as its service offerings
 3   have expanded to include: Discovery Design, Discovery Builders and Discovery Life.
 4            37.   DLC has always had complete control of its brand and the DISCOVERY
 5   marks in order to protect its hard-earned reputation with the clientele it serves.
 6            38.   DLC uses the DISCOVERY marks in various capacities—e.g., on its
 7   website and in its domain name, in promotional brochures and marketing materials, in its
 8   magazine—Discovery Life, in connection with the Discovery Land Company Foundation
 9   (which contributes funds to non-profit organizations in the communities where DLC
10   operates club communities) and in every other facet of its business and promotional
11   activities.
12            39.   DLC has expended enormous sums of money (over $50,000,000) to
13   promote the DISCOVERY marks. Through DLC’s efforts, the DISCOVERY marks have
14   acquired secondary meaning and distinctiveness among consumers and members of the
15   industry, and the marks continue to have secondary meaning and distinctiveness. The
16   DISCOVERY marks are now widely known and recognized as a signifier of DLC’s
17   private club communities that offer world-class services and unparalleled amenities.
18            40.   The DISCOVERY marks identify to consumers and members of the
19   industry that DLC is the source of the luxurious services and exclusive properties, and
20   the marks have come to be, and now are, well and favorably known to the public,
21   particularly to consumers, as being associated with DLC’s unparalleled luxury and
22   service.
23            41.   The DISCOVERY marks are an integral part of DLC’s brand. Consumers
24   associate the marks with DLC’s goodwill and reputation as a world leader in the market.
25            42.   DLC’s business model—high prices, a strong emphasis on exclusivity and
26   privacy, and a relaxed and comfortable approach to reduce the intimidation factor—sets
27   it apart from other golf clubs, luxury resorts and communities.
28            43.   To protect its goodwill and reputation, DLC maintains the highest standards
                                                  11
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36      Filed 03/03/21    Page 12 of 49




 1   in every aspect of its operations. For example, DLC’s communities: (i) integrate the local
 2   architecture, culture and cuisine of the location; (ii) offer members world-renowned golf
 3   courses, state-of-the-art fitness facilities and unique outdoor concierge programs; (iii)
 4   focus on sustainable efforts and create programs that ensure the community is a source of
 5   local economic growth and stability; and (iv) offer turn-key homes for families that
 6   embody modern aesthetics while staying true to classic principles.
 7            44.   DLC’s efforts have not gone unnoticed. Recent accolades include: (i)
 8   DLC’s CEO Meldman being recognized as one of the “Most Influential Developers” by
 9   Golf Inc. Magazine in its January/February 2020 issue; (ii) DLC’s communities being
10   recognized as “Best of the Best” by Robb Report Vacation Homes and “Best of Paradise”
11   by Luxury Living Magazine; and (iii) numerous publications including, but not limited to,
12   The New York Times, Forbes, Business Insider, The Times, Mansion Global, CSQ, Quest
13   Magazine, Modern Luxury Interiors, The Financial Times, and Executive Golfer
14   publishing articles touting the excellence of DLC and Meldman.
15   III.     DLC’s Trade Secret Customer Database
16            45.   DLC’s customers include land sellers, joint venture developers, capital
17   partners and end-user home purchasers.
18            46.   Because DLC conducts business in the high-end tier of the luxury market
19   (e.g., home prices range from $3,000,000 to over $20,000,000), its customer-base is
20   limited and transactions often involve repeat customers.          As a result, business
21   development and customer relations are an integral part of DLC’s operations.
22            47.   DLC expends significant resources (time and money) to identify, cultivate
23   and maintain strong relationships with its elite clientele and prospective customers. For
24   example, DLC’s communities have drawn high-profile guests/owners including,
25   professional athletes, movie stars, recording artists, and business magnates.
26            48.   DLC’s business development efforts contribute substantially to its overall
27   success, goodwill and reputation.
28            49.   Over the past 20 years in the luxury development market, DLC has
                                                 12
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36      Filed 03/03/21    Page 13 of 49




 1   compiled and maintained an extensive customer list and database that includes, among
 2   other things, valuable and detailed information and spreadsheets with: (i) contact and
 3   financial information for more than 30,000 current owners, prior owners, and qualified
 4   prospects; (ii) data regarding DLC’s past sales and transactions; and (iii) club membership
 5   lists for DLC’s communities (collectively, the “Customer Database”).
 6            50.   DLC’s Customer Database includes over 375 current and prospective
 7   customers located in Arizona and the database is maintained by DLC at its Arizona offices
 8   and other locations.
 9            51.   DLC compiled the information in its Customer Database at great effort and
10   expense over time, and much of the information contained therein is not publically
11   available or readily obtainable from other sources.
12            52.   The information compiled in the Customer Database is not generally known
13   to the public, and DLC takes numerous steps to maintain the secrecy and confidentiality
14   of its Customer Database. The Customer Database is stored on password-protected
15   company computers and independent third-party servers protected by a network firewall.
16   Access to the Customer Database is provided only to a very limited number of DLC’s
17   executives and personnel. DLC has also instituted written policies prohibiting external
18   use or disclosure of its Customer Database.
19            53.   DLC’s Customer Database is a tremendous asset that provides DLC a
20   district competitive advantage in the market. Using the Customer Database, DLC is able
21   to create initial sales momentum at new projects by directing personalized sales and
22   marketing efforts to customers with an established interest in the high-end luxury market.
23            54.   Appropriation and use of the Customer Database by competitors would
24   cause severe detriment to DLC and provide an unfair advantage and great economic
25   benefit to competitors.
26   IV.      Defendant Rebecca Buchan
27            55.   Buchan is the founder and Chief Executive Officer of Denton House—an
28   interior design and architectural firm that provided services to Discovery Design pursuant
                                                 13
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36       Filed 03/03/21   Page 14 of 49




 1   to an Independent Contractor Agreement (the “ICA”).
 2            56.   Pursuant to the ICA, Discovery Design contracted with development
 3   entities and individual clients at DLC communities to provide design services, which
 4   services are then fulfilled by Denton House.
 5            57.   Due to the close (and what Plaintiffs understood to be mutually beneficial)
 6   working relationship between Denton House and Discovery Design on scores of projects
 7   over many years, Buchan offered to provide additional services directly to Discovery
 8   Design. In or about 2012, Buchan’s role expanded to the point that she took on the title
 9   and responsibilities of President for Discovery Design.
10            58.   Through her executive role with Discovery Design, Buchan was involved
11   in various design and planning activities as well as broad initiatives for DLC’s current
12   and prospective development projects. Through that involvement, and with the consent
13   of Discovery Design, Buchan was able to direct even more business to her company,
14   Denton House. Because Buchan was a trusted agent, among other privileges, she was
15   granted access to Discovery Design’s and DLC’s computer files and systems.
16            59.   In late 2018 or early 2019, Buchan—without formal authorization or
17   approval—expanded her involvement with Plaintiffs by designating herself not just as an
18   executive of Discovery Design, but also as DLC’s Chief Operating Officer (“COO”).
19            60.   DLC did not object to Buchan’s self-appointed COO role, and in fact
20   acquiesced in Buchan voluntarily assuming even greater responsibilities directly to DLC,
21   as she had become very involved over the years in Plaintiffs’ businesses, and was trusted.
22            61.   Acting as Plaintiffs’ authorized agent, Buchan was engaged in many aspects
23   of Plaintiffs’ operations including, but not limited to:
24                  a.    participating in executive level meetings where policies, operations
25   and projects were discussed and considered;
26                  b.    overseeing performance of Discovery Design’s contracts—i.e., the
27   ICA and design contracts with development entities and individual clients;
28                  c.    addressing Human Resource issues, taking an active role in the
                                                  14
     76991854.1
     Case 2:20-cv-01940-MTL          Document 36      Filed 03/03/21    Page 15 of 49




 1   elevation/demotion of pay levels as well as the hiring/firing of Plaintiffs’ employees;
 2                     d.    assisting in the design and marketing of existing DLC communities
 3   including, but not limited to, “James Island” in British Columbia, “CostaTerra” in
 4   Portugal, “Playa Grande” in the Dominican Republic and “Chileno Bay” in Mexico; and
 5                     e.    developing strategy, business plans and/or master planning concepts
 6   for new prospective DLC-sourced development projects including, but not limited to,
 7   “Amaala” in Saudi Arabia, “La Nosy Mitsio” in Madagascar and “Mayflower” in Utah.
 8            62.      When communicating with actual and prospective customers, Buchan
 9   identified herself as Discovery Design’s President or DLC’s COO, used the
10   DISCOVERY marks and represented that her work was in furtherance of DLC
11   development projects.
12            63.      At all relevant times, it was understood that the services Buchan performed
13   as the President of Discovery Design, and later as DLC’s COO, benefited Buchan
14   financially as she was in positions where she could direct substantial work as well as
15   tremendous revenues to Denton House under the ICA. For example, Discovery Design
16   paid Denton House over $60 million for the time period of 2015-2020, with payments
17   rising to more than $13,000,000 in 2017, over $15,000,000 in 2018 and over $21,000,000
18   in 2019.
19   V.           Installation of Buchan’s Friends and Family at DLC and Discovery Design
20            64.      Using her executive role and authority to perform Human Resources
21   functions, Buchan was able to hire, and in fact did hire, her friends, family and preferred
22   applicants into numerous positions at DLC and Discovery Design.
23            65.      Among the persons who Buchan was able to install in positions at DLC,
24   Discovery Design, and their affiliates were: (a) Tom Hogan, who was hired as DLC’s
25   Chief Financial Officer; (b) her son-in-law Ryan Butters, who provided services on
26   Special Projects for DLC; (c) Soo Hong, who was hired as DLC’s HR Manager; and (e)
27   James Bailey, who provided IT services to DLC and its affiliates.
28
                                                    15
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36       Filed 03/03/21   Page 16 of 49




 1   VI.      Buchan and Her Allies Take Advantage of Plaintiffs’ Trust
 2            66.   Defendant Pace—the VP of Finance for Discovery Design—was
 3   responsible for administering the invoices submitted by Denton House and payments
 4   made by Discovery Design under the ICA. In that role, Discovery Design expected (and
 5   Pace’s duties required) that he protect Discovery Design’s interests by critically
 6   examining and challenging any aspects of Denton House’s invoices that did not comply
 7   with the terms of the ICA or Discovery Design’s contracts with clients and development
 8   entities at DLC communities. As Discovery Design recently discovered, however, that
 9   did not happen.
10            67.   Instead, from June 2015 through July 2020, Buchan—acting in bad faith
11   for the benefit of herself and Denton House, and to the detriment of Discovery Design—
12   instructed Pace (who, at all times, was located in Arizona) to make payments to Denton
13   House (from Discovery Design’s Arizona bank account) greatly exceeding the amounts
14   due under the terms of the ICA.
15            68.   For example, through Pace, Buchan—either personally or through her
16   husband Joseph Buchan, acting his capacity as the CFO of Denton House—was able to
17   direct payments to Denton House for:
18                  a.    invoices that did not allocate proper fee splits for consulting fees,
19   credits or refunds per the terms of the ICA;
20                  b.    invoices for work that had not been performed or delivered to
21   Discovery Design’s clients; and
22                  c.    invoices with inaccurate and inflated labor or material costs.
23            69.   Buchan, either personally or through her husband Joseph Buchan, also on
24   numerous occasions instructed Pace to write-off substantial amounts as “bad debt” in
25   order to maximize Denton House’s profits.
26            70.   In violation of his duties to Discovery Design, Pace followed Buchan’s and
27   Joseph Buchan’s instructions without question or concern, failing to inform Discovery
28   Design’s owners or its General Counsel, that Denton House’s invoices were inconsistent
                                                 16
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36       Filed 03/03/21   Page 17 of 49




 1   with the terms of ICA or that Denton House routinely failed to provide documentation to
 2   substantiate its invoices (as required under the ICA).
 3            71.   Pace also never informed Discovery Design that Buchan (or Joseph
 4   Buchan) was instructing him to make unauthorized payments to Denton House.
 5            72.   The conduct by Buchan, Joseph Buchan and Pace described above was all
 6   done without the knowledge or permission of Plaintiffs, who remained unaware
 7   throughout that Buchan had coopted Pace and was routinely seeking to line her own
 8   pockets through improper, inflated and unsubstantiated invoices from Denton House, all
 9   to Plaintiffs’ detriment and at Plaintiffs’ expense.
10   VII.     The DG Defendants
11            73.   In the summer of 2019 (before Plaintiffs had become aware of her double-
12   dealing), Buchan contacted DLC’s CEO Meldman and proposed that Denton House and
13   DLC collaborate on certain development projects under a new business venture using
14   DLC’s brand. At the time, Meldman was open to forming such a venture because he
15   believed a collaboration operating under DLC’s umbrella would be successful given the
16   value of the DISCOVERY marks, DLC’s esteemed reputation, and Buchan’s familiarity
17   with DLC’s business practices.
18            74.   At all times, however, Meldman made clear to Buchan that he would only
19   consider a new venture if DLC had a controlling interest in the operation, management
20   and income of the company to maintain and protect DLC’s reputation, marks, customer
21   base and goodwill.
22            75.   Throughout the discussions regarding the potential formation of a new
23   venture, Buchan continued to serve as DLC’s COO. At all relevant times, that continued
24   services was subject to the parties’ then-existing understanding that such an arrangement
25   was beneficial to Buchan by virtue of the increased opportunities and work for Denton
26   House that Buchan was positioned to procure for herself. At no time did Buchan assert
27   to DLC or Meldman—nor did DLC or Meldman ever agree—that any services she
28   provided as DLC’s COO were related to, or in furtherance of, the potential new venture.
                                                  17
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36       Filed 03/03/21     Page 18 of 49




 1            76.   Although Buchan and Meldman discussed that the proposed venture would
 2   involve a subset of DLC projects outside of the United States, they did not initially discuss
 3   which, if any, existing or prospective DLC projects would be contributed to a new
 4   venture.
 5            77.   In October 2019, DLC’s Chief Development Officer, Tom Collopy and
 6   Buchan—representing herself as DLC’s COO—sent a proposal, an updated “Discovery
 7   Land Company Presentation,” a development summary and conceptual master plans to
 8   Premium Luxury Integrated Resorts at the Public Investment Fund of Saudi Arabia
 9   (“Integrated Resorts”) regarding a new luxury development project on Saudi Arabia’s
10   northwestern coast that Mr. Collopy had sourced (the “Amaala project”).
11            78.   The proposal—using the DISCOVERY marks—outlined DLC’s interest in
12   serving as sub-developer of branded residential and club communities at the Amaala
13   project. This proposal was prepared after months of discussions and meetings with
14   Integrated Resorts which were initiated by Mr. Collopy on behalf of DLC in May 2019.
15            79.   In December 2019, Integrated Resorts expressed desire to enter into a
16   contract with DLC to provide conceptual master plans for the Amaala project.
17            80.   In order to conduct business with the Kingdom of Saudi Arabia, DLC had
18   to form a new legal entity to be registered with the Ministry of Commerce. On December
19   18, 2019, Buchan e-mailed DLC’s executives and proposed “our future Saudi entity could
20   be named ‘Discovery Global.’”
21            81.   On December 27, 2019 (without the knowledge or consent of DLC),
22   Buchan independently formed DG and DGM under the law of Delaware. Buchan did not
23   name or identify DLC or Meldman as a member/owner of either company.
24            82.   Also without the knowledge of consent of DLC, Buchan executed
25   Operating Agreements for DG and DGM that failed to provide DLC with a controlling
26   interest (or even any interest) in the operation, management and income of either
27   company. Instead, Buchan appointed herself as the sole managing-member of DGM and
28   DGM as the sole managing-member of DG.
                                                  18
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36      Filed 03/03/21     Page 19 of 49




 1            83.   On January 28, 2020, DG entered into a “Services Agreement” with
 2   Integrated Resorts to prepare iterative master plans for the Amaala project. This contract
 3   did not obligate DG to develop a DLC-branded project at the location, nor would DG
 4   have had the authority or ability to use DLC’s name or marks unless the new venture was
 5   formed and DLC agreed to contribute and authorize the use of the DISCOVERY marks.
 6   Rather, DG agreed to prepare a “strategic vision and position presentation” for the project.
 7            84.   Prior to executing the Services Agreement on behalf of DG, Buchan sent a
 8   text message to Meldman acknowledging the parties had not completed the then-ongoing
 9   discussions regarding ownership of DG/DGM, which she expected to be continuing “next
10   week.” As Buchan explained, she wanted to obtain a financial commitment from
11   Integrated Resorts in order to “cover the direct costs of Denton House and DLC.”
12            85.   Following execution of the Services Agreement, Buchan continued to work
13   in tandem with DLC’s executives and employees in Arizona on development concepts
14   for the Amaala project.
15            86.   In April 2020, Buchan—representing herself to be acting as DLC’s COO—
16   sent Integrated Resorts a presentation and iterative master plans for the Amaala project.
17   The presentation: (i) used the DISCOVERY marks; (ii) stated “Discovery Land
18   Company, LLC is proposing the creation of a new DLC Resort, Hotel and private
19   Lifestyle Community”; (iii) promoted DLC’s “identifiable” and “internationally
20   recognized” brand, “proven business model,” turn-key services by Discovery Builders
21   and Discovery Design and marketing opportunities for referrals through the “DLC
22   database.”
23            87.   Integrated Resorts advised on May 19, 2020 that it wanted to move forward
24   with the “original Discovery Land Company Optimized Master Plan.”
25            88.   On May 21, 2020, Buchan executed a First Amendment to the Operating
26   Agreement for DGM adding Tom Collopy—DLC’s Chief Development Officer, working
27   out of DLC’s offices in Arizona—as a 50% owner/member.
28            89.   The following week, Buchan and Meldman met in Las Vegas, Nevada to
                                                 19
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36      Filed 03/03/21   Page 20 of 49




 1   discuss terms for ownership and management of DG and DGM.
 2            90.   Shortly thereafter, on June 2, 2020, Buchan sent Meldman an e-mail
 3   summarizing her expectations for DG and DGM. Buchan, among other things, proposed:
 4                  a.    DG as a partnership between DLC and DGM, splitting net revenues
 5   60% to DLC and 40% to DG;
 6                  b.    DGM as a partnership between Tom Collopy (DLC’s CDO), Ryan
 7   Butters (Buchan’s son-in-law and DLC’s then-VP of Business Strategy and Analytics),
 8   Tom Hogan (DLC’s then-CFO), and Buchan (DLC’s then-COO and Denton House’s
 9   CEO);
10                  c.    DGM would have complete managerial authority for DG;
11                  d.    DLC would contribute five DLC-sourced/branded development
12   projects to DG—i.e., “Amaala” in Saudi Arabia; “La Nosy Mitsio” in Madagascar;
13   “Lisbon City Club” in Portugal; “Sardinia” in Italy; “CostaTerra” in Portugal; and
14                  e.    Discovery Design would be dissolved with its employees being
15   incorporated into DG.
16            91.   Buchan’s “expectations” for the potential venture were not consistent with
17   those of DLC or Meldman, however. On July 11, 2020, Meldman rejected Buchan’s
18   proposed terms, provided a revised draft Amended and Restated Operating Agreement
19   for DG and outlined DLC’s proposal for the prospective venture, stating: “if we decide
20   to move forward, I need to control my brand and management of the company.”
21            92.   Consistent with the prior discussions between Buchan and Meldman, DLC
22   proposed:
23                  a.    DG as a partnership between DLC and DGM, splitting gross
24   revenues 60% to DLC and 40% to DG;
25                  b.    the managing-member of DG would be Discovery Land Enterprises,
26   LLC (a DLC affiliate in which Buchan has no interest or control) with complete
27   managerial authority and the ability to protect DLC’s valuable name, goodwill, and
28   trademarks;
                                                20
     76991854.1
     Case 2:20-cv-01940-MTL      Document 36      Filed 03/03/21     Page 21 of 49




 1                  c.    DGM would be owned and controlled independently of DG with
 2   DGM’s employees/agents serving as the execution team for approved DG projects;
 3                  d.    DLC would contribute four DLC-sourced/branded development
 4   projects to DG—i.e., “Amaala” in Saudi Arabia; “La Nosy Mitsio” in Madagascar;
 5   “Lisbon City Club” in Portugal; and “Sardinia” in Italy; and
 6                  e.    use of DLC’s brand would be “permitted only with specific
 7   approval.”
 8            93.   Buchan rejected DLC’s proposed terms on July 15, 2020 refusing to
 9   provide DLC a controlling interest in DG through its affiliate Discovery Land Enterprises,
10   LLC, and insisting that additional DLC-sourced/branded projects—i.e., “Costa Terra” in
11   Portugal; “Mayflower” in Utah; and “Homewood” in California—be contributed to the
12   venture.
13            94.   On July 17, 2020, Buchan revealed (unbeknownst to Plaintiffs) that the
14   work she performed while acting and representing herself as Plaintiffs’ COO was, in fact,
15   being performed as an agent of the DG Defendants. Specifically, Buchan sent Meldman
16   a summary of purported “DG projects [] pending contract completion, under LOI or with
17   our planning team”—which, upon information and belief, was prepared by Buchan and
18   DLC’s CFO Tom Hogan, who was hired by Buchan.
19            95.   The summary entitled “Discovery Global 10 Year Project Projections”
20   listed fourteen projects in DG’s alleged “pipeline”—which included existing DLC
21   projects (i.e., “CostaTerra” in Portugal and “Amaala” in Saudi Arabia) as well as
22   prospective DLC projects in Madagascar, Italy, Switzerland, Spain, Utah, and Arizona.
23            96.   For example, the DG Defendants’ summary projects annual revenues of
24   $225,000 in 2021 and revenues of $53,550,000 over the next ten years for a project in
25   Sedona, Arizona.
26            97.   Despite continued negotiations, Buchan and Meldman could not reach an
27   agreement as to the ownership, management and income of the prospective DG venture.
28            98.   On July 21, 2020, Buchan sent Meldman an e-mail stating:
                                                21
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36     Filed 03/03/21   Page 22 of 49




 1                   a.      there was no need to create a partnership within DG if DLC would
 2   not contribute the “CostaTerra” project;
 3                   b.      all of the projects in DG’s alleged “pipeline” (except the Amaala
 4   project) were “facilitated” by Denton House;
 5                   c.      the DG Defendants would “continue on our own,” meaning that they
 6   intended to pursue projects in direct competition with DLC; and
 7                   d.      a “branding (and revenue sharing) agreement” could be negotiated
 8   for any DLC-branded projects developed by the DG Defendants.
 9            99.    In response, Meldman instructed:
10                   a.      DLC would consider a branding/revenue agreement on a “deal-by-
11   deal basis”;
12                   b.      DLC had rights to all projects in DG’s alleged “pipeline” as each
13   project was sourced using DLC’s brand and resources; and
14                   c.      “you will need to change the name of Discovery Global so this is
15   not confusing to the market.”
16   VIII. Buchan’s Escalating Demands and Destruction of the Parties’ Business

17            Relationship
18            100.   When negotiations between Buchan and Meldman relating to the
19   prospective DG venture failed, Denton House—through Buchan herself, Joseph Buchan
20   and others authorized to act at Denton House’s direction—began making near-daily calls
21   and other communications to Discovery Design in Arizona, demanding payment from
22   Discovery Design for amounts allegedly due and owing under the ICA.
23            101.   Denton House’s escalating and extensive demands prompted an
24   investigation and audit of the many transactions between Denton House and Discovery
25   Design, going back several years. As a result of that investigation and audit (which are
26   ongoing) Discovery Design became aware that, notwithstanding Pace’s job
27   responsibilities and obligation to protect Discovery Design’s interests, Pace had been
28   fully coopted by Buchan, Joseph Buchan and Denton House such that he had been acting
                                                  22
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36      Filed 03/03/21    Page 23 of 49




 1   in Denton House’s interests, and against the interests and direction of Discovery Design
 2   for many years.
 3            102.   On or about July 27, 2020, as a result of its discovery of Pace’s and
 4   Buchan’s malfeasance and double-dealing, Discovery Design terminated its agency
 5   relationship with Pace. Within days of his termination, however, Pace was immediately
 6   hired by Buchan to act as Denton House’s VP of Finance & Accounting.
 7            103.   On or about July 28, 2020, Buchan formally ended her agency relationship
 8   with Plaintiffs and “resigned” her COO position. Several other executives and employees
 9   of DLC similarly resigned in July 2020 and now work for Buchan’s new company, AC.
10            104.   Before terminating her agency relationship, in what could only be an effort
11   to cover up her and others’ misdeeds while working for DLC and Discovery Design,
12   Buchan deleted a significant number of files—in excess of 61,687—from DLC’s
13   computer servers. The files that Buchan deleted covered the time period between July
14   30, 2018 and July 27, 2020. DLC’s investigation into the files that Buchan deleted is
15   ongoing, and some have been recovered.
16            105.   Buchan’s attempt to purge a significant number of DLC files prior to her
17   departure was an act of bad faith and effort to conceal and spoliate evidence of
18   Defendants’ unlawful conduct.
19   IV.      DG Defendants’ Infringing and Misleading Use of the DISCOVERY Marks
20            106.   After the venture negotiations between Buchan and DLC fell apart, on or
21   about August 4, 2020, counsel for Plaintiffs advised counsel for Defendants that “DG
22   usurped DLC personnel, assets, project(s), good-will and reputation to position itself in
23   the same or similar market and industry to DLC” and any “continued use of the []
24   Discovery brand by [the DG Defendants, Denton House and Buchan] is actionable and
25   undoubtedly creates a likelihood of confusion.”
26            107.   Throughout the early weeks of August, the parties sought to resolve their
27   differences, including discussing a potential branding/revenue agreement between DLC
28   and DG concerning the Amaala and La Nosy Mistsio projects. During those discussions,
                                                  23
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36      Filed 03/03/21    Page 24 of 49




 1   however, DLC was always clear that “[u]se of Discovery Global [name] will be a conflict.
 2   Pursuing projects independently means under a non-Discovery name unless a
 3   revenue/brand share agreement is in place for a specific project.”
 4            108.   Negotiations for a branding/revenue agreement ceased on or about August
 5   17, 2020 when DG and Denton House filed a lawsuit in Utah against Plaintiffs (the “Utah
 6   action”).
 7            109.   Notwithstanding the parties’ failure to reach an agreement and DLC ’s clear
 8   direction to cease use of the DISCOVERY marks, the DG Defendants continued to do so
 9   in their efforts to unfairly compete with DLC, trade on its goodwill and reputation and
10   mislead consumers into believing the DG Defendants were still associated with DLC.
11            110.   On July 28, 2020 (the same day that Buchan resigned her COO position and
12   seven days after Meldman instructed Buchan to cease use of the name, “Discovery
13   Global”), Buchan—acting on behalf of the DG Defendants—sent a letter to Integrated
14   Resorts with an “updated” proposal and presentation for the Amaala project using the
15   DISCOVERY marks. The letter also displays a “Discovery Global” logo mimicking the
16   DISCOVERY marks as depicted below:
17
18
19
20
21
22
23            111.   On August 1 and 2, 2020, Buchan sent an e-mail (using the e-mail address

24   Becky@discoveryglobal.co and a signature block with a link to DLC’s website) to

25   Dolphin Capital, a United Kingdom/Greek financial firm that conducts business with

26   DLC stating that she “would love to discuss” the possibility of working together.

27   Buchan’s signature block appears virtually identical to the one she used as DLC’s COO

28   as depicted below:

                                                  24
     76991854.1
     Case 2:20-cv-01940-MTL                   Document 36              Filed 03/03/21            Page 25 of 49




         REBECCA BUCHAN | COO                                           REBECCA BUCHAN | COO
 1       Discovery Land Company                                         Discovery Global
         4670 South Holladay Village Plaza, Salt Lake City, UT 84117    4670 South Holladay Village Plaza, Salt Lake City, UT 84117
 2       O: (801) 333-8156
         M: (801) 550-3484
                                                                        O: (801) 333-8156
                                                                        M: (801) 550-3484
         www.discoverylandco.com                                        www.discoverylandco.com
 3
 4              112.      On or after August 22, 2020, Buchan on behalf of the DG Defendants sent

 5   Integrated Resorts an “updated” presentation using the DISCOVERY marks.

 6              113.      On       August          25,      2020,         Buchan          sent       an      e-mail        (using

 7   Becky@discoveryglobal.co and a signature block with a link to DLC’s website) to DLC’s

 8   CDO, Tom Collopy in Arizona threatening legal action if he communicated with

 9   Integrated Resorts or any third parties regarding “Discovery Global contracts and

10   business.”

11              114.      The DG Defendants’ unauthorized use of the DISCOVERY marks has

12   caused confusion in the Marketplace. 1 Examples of this confusion include:

13                        a.        Dolphin Capital contacting DLC’s affiliate on August 4, 2020

14   expressing confusion regarding Buchan’s interest in developing the “The One and Only”

15   project in Greece as a “non-branded Discovery project”;

16                        b.        Integrated Resorts contacting DLC on November 22, 2020

17   expressing confusion by the dialogue and content of Defendants’ presentation materials.

18              115.      Upon information and belief, the DG Defendants continued using the

19   “Discovery Global” name/mark as well as the DISCOVERY marks to pursue the

20   development projects identified in DG’s alleged “pipeline” after DLC’s clear direction to

21   cease use.

22              116.      Upon information and belief, the DG Defendants intend to continue using

23   the “Discovery Global” name/mark in the future.

24              117.      On October 26, 2020 (after commencement of the instant lawsuit), the DG

25   Defendants filed an amended complaint in the Utah action seeking a declaratory judgment

26   of non-infringement, alleging that DLC does “not own any legally protectable right to

27
     1
      Marketplace in this context is defined as land sellers, joint venture developers, capital
28   partners, and end-user property purchasers.
                                                                   25
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36         Filed 03/03/21   Page 26 of 49




 1   exclude [the DG Defendants] from using the name “Discovery Global.”
 2            118.   The DG Defendants’ declaratory judgment claim remains pending in the
 3   Utah action.
 4   V.       The AC Defendants
 5            119.   On or about October 7, 2020, Buchan formed AC and ACM to pursue real
 6   estate development projects and, concurrently or around the same time, sought to and did
 7   hire numerous former executives and agents of Plaintiffs to perform for AC the same or
 8   functionally the same duties as they had been performing for Plaintiffs.
 9            120.   AC has hired at least the following DLC or Discovery Design executives
10   and employees for AC’s executive team: (i) Buchan is a co-founder of AC and its CEO;
11   (ii) DLC’s former CFO, Tom Hogan is a co-founder of AC and its CFO; (iii) DLC’s
12   former Chief Marketing Officer, Carol Taylor is the CMO of AC; (iv) DLC’s former VP
13   of Business Strategy and Analytics, Ryan Butters is the Chief Strategy Officer of AC; (v)
14   DLC’s former Director of Information Technology, James Bailey is the VP of Operations
15   & Technology for AC; and (vi) DLC’s former employee, Emily Mayer is the VP of
16   Marketing for AC.
17            121.   Upon information and belief, AC has hired Joseph Buchan to serve as its
18   VP of Finance as of the first quarter of 2021.
19            122.   The AC executive team is primarily comprised of individuals previously
20   serving the DG Defendants—i.e., Buchan, Tom Hogan, Carol Taylor, Ryan Butters and
21   Emily Mayer were all employees and/or agents of the DG Defendants prior to working
22   for AC.
23            123.   Upon information and belief, the AC Defendants are now pursuing the
24   development projects identified in DG’s alleged “pipeline.”         For example, the AC
25   Defendants continue to communicate with Integrated Resort in pursuit of the Amaala
26   project and have entered a partnership with Extell Development to develop the Mayflower
27   project in Utah.
28
                                                 26
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36      Filed 03/03/21   Page 27 of 49




 1   VI.      Defendants’ Misappropriation of DLC’s Customer Database
 2            124.   On or about September 14, 2020, Buchan (using the misleading and
 3   infringing e-mail address Becky@discoveryglobal.co) exchanged e-mails with Denton
 4   House and DG employees (using @discoveryglobal.co) outlining the DG Defendants’
 5   intention to solicit work in relation to the DLC-sourced Mayflower project in Utah. In
 6   this email-exchange, Buchan:
 7                   a.    assigned various tasks to Denton House and DG employees to
 8   complete the DG Defendants’ “Mayflower Investor Desk”—i.e., a slide presentation that
 9   Buchan intended to distribute to consumers the following week; and
10                   b.    instructed Carol Taylor (DLC’s former CMO) to use DLC’s
11   confidential and proprietary Customer Database for “Sales & Marketing” and “Customer
12   Acquisition” purposes.
13            125.   Of the many former executives, employees and agents of Plaintiffs now
14   working for or with Defendants, at least Buchan (CEO for DG and AC) and Carol Taylor
15   (CMO for DG and AC) had access to DLC’s confidential and proprietary Customer
16   Database prior to resigning their DLC-executive positions. Buchan and Carol Taylor (as
17   well as any former executives, employees or agents of Plaintiffs who had access to DLC’s
18   Customer Database) were well-aware of the economic value, confidentiality and
19   restricted-use policies governing use of that database.
20            126.   Upon information and belief, Buchan, Ms. Taylor, or others acting at the
21   direction of or as agents for Defendants accessed and made an unauthorized copy of the
22   Customer Database prior to resigning their DLC positions.
23            127.   Defendants have threatened to use and, upon information and belief, have
24   wrongfully used DLC’s Customer Database to advance their real estate development
25   business to the detriment of DLC.
26   VII.     AC Defendants’ False and Misleading Advertisements
27            128.   To promote their real estate development business, the AC Defendants are
28   operating the website, arete-collective.com (the “AC Website”) and disseminating
                                                 27
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36     Filed 03/03/21    Page 28 of 49




 1   promotional materials to consumers including, but not limited to, a presentation
 2   describing AC’s “Portfolio of Experience” which primarily consists of work allegedly
 3   performed at DLC communities (the “AC Presentation”).
 4            129.   The AC Website displays a number of images of DLC communities,
 5   including: (i) an image of the distinctive ceiling at DLC’s Chileno Bay Golf and Beach
 6   Club; and (ii) an image of DLCs distinctive Yellowstone Club (collectively, the “DLC
 7   Resort Images”).
 8            130.   The AC Defendants’ display of the DLC Resort Images in connection with
 9   the “Areté” name and “developer” statements—e.g., that “Areté Collective is a fully-
10   integrated developer of luxury escapes”—constitutes false and misleading advertising
11   because AC was not involved with the development of the communities shown in the
12   DLC Resort Images.
13            131.   The AC Presentation falsely represents that Denton House “operated”
14   Discovery Design for the past decade.
15            132.   The AC Presentation falsely represents that AC’s executives performed: (i)
16   “community visioning” and “operational startup and activation” for the DLC’s Summit
17   Club in Nevada; (ii) “acquisition” and “interior design” for DLC’s CostaTerra Golf &
18   Ocean Club in Portugal; (iii) “community visioning” and “amenity interior design” for
19   DLC’s James Island in Canada; (iv) “overall community” for DLC’s Silo Ridge Golf &
20   Country Club in New York; (v) “community visioning” for DLC’s Makena Golf and
21   Beach Club in Hawaii; (vi) “sales and marking, public relations” for DLC’s The Hills in
22   New York; and (vii) “community visioning” for DLC’s Playa Grande Beach Club in
23   Dominican Republic.
24            133.   The AC Presentation misleadingly suggests that AC has created “25+
25   Master Planned Luxury Communities and Private Clubs” as a result of “previous
26   collaborations” with DLC.
27            134.   The AC Presentation creates a false, misleading and deceptive impression
28   concerning AC’s “Portfolio of Experience” and the work previously performed by its
                                                 28
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 29 of 49




 1   employees in relation to DLC’s club communities.
 2            135.   Similar to the AC Website, the AC Presentation also displays images of
 3   DLC developed resorts in connection with the “Areté” name and “developer” statements,
 4   and therefore constitutes false and misleading advertising because AC was not involved
 5   with the development of the communities shown in the images.
 6            136.   Upon information and belief, the AC Defendants have distributed the AC
 7   Presentation to Integrated Resorts and other consumers involved in the development
 8   projects identified in DG’s alleged “pipeline” as well as those identified in DLC’s
 9   Customer Database.
10            137.   Consumers are likely to be deceived by the AC Website and AC
11   Presentation (collectively, “False and Misleading Advertisements”).
12            138.   The AC Defendants’ False and Misleading Advertisements are causing
13   irreparable harm to DLC’s reputation and goodwill, tainting its brand and compromising
14   its ability to effectively market and sell its development products and services.
15            139.   The AC Defendants have engaged in the conduct at issue intentionally,
16   willfully and maliciously with knowledge that their False and Misleading Advertisements
17   cause harm to Plaintiffs and deceive consumers.
18                                  FIRST CAUSE OF ACTION
19                Infringement of a Federal Trademark under 15 U.S.C. § 1114(1)
20                   (By DLC Against the DG Defendants and Denton House)
21            140.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
22   all previous allegations.
23            141.   The DG Defendants’ and Denton House’s use of the word “Discovery,”
24   including in variants of the name “Discovery Global,” their website and email addresses,
25   and signature blocks, as described above, is confusingly similar to and infringes DLC’s
26   federally registered DISCOVERY marks as depicted in Exhibits A and B.
27            142.   Defendants’ actions are likely to cause confusion, cause mistake, or to
28   deceive the purchasing public and others, whereby they would be led to mistakenly
                                                   29
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36      Filed 03/03/21      Page 30 of 49




 1   believe that the Defendants are affiliated with, related to, sponsored by, or connected with
 2   DLC, in violation of 15 U.S.C. § 1114(1).
 3            143.   Although actual confusion is not required for infringement to occur, DLC
 4   is informed that actual confusion exists in the Marketplace as a result of the DG
 5   Defendants’ and Denton House’s unauthorized use of the DISCOVERY marks.
 6   Defendants are aware of the DISCOVERY marks, the value of those marks in the industry
 7   and DLC’s extensive use and promotion of its brand due to Buchan’s formerly close
 8   affiliation with DLC.
 9            144.   Notwithstanding Defendants’ knowledge of the DISCOVERY marks and
10   DLC’s demands for Defendants to cease use of the marks, Defendants continued to do so
11   and intend to resume use in the future in an effort to trade on the goodwill that DLC has
12   developed in the marks, all of the damage of DLC.
13            145.   Defendants’ actions were designed to deceive and mislead consumers into
14   believing that the DG Defendants are associated with DLC through the use of confusingly
15   similar marks.
16            146.   Defendants’ actions have caused and will continue to cause irreparable
17   injury to DLC in the future for which there is no adequate remedy at law.
18            147.   Defendants have been instructed to cease using the DISCOVERY marks
19   but have refused to do so despite their knowledge of DLC’s federally registered marks.
20   Accordingly, Defendants’ infringement is willful and DLC is entitled to recover treble
21   damages and attorneys’ fees under 15 U.S.C. § 1117.
22            148.   At all material times, Buchan was acting as employee and/or agent of the
23   DG Defendants and/or Denton House. The DG Defendants and/or Denton House are
24   therefore liable for the harm and damages caused by Buchan’s unlawful conduct.
25            149.   At all material times, the DG Defendants and Denton House were acting in
26   concert and in furtherance of a joint enterprise and are therefore jointly and severally
27   liable for the harm caused, debts and obligations of the other.
28
                                                 30
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 31 of 49




 1                                SECOND CAUSE OF ACTION
 2      Unfair Competition and False Designation of Origin under 15 U.S.C. § 1125(a)
 3                   (By DLC Against the DG Defendants and Denton House)
 4            150.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
 5   all previous allegations.
 6            151.   This is a claim for unfair competition under the Lanham Act, 15 U.S.C. §
 7   1125(a), arising from the DG Defendants’ and Denton House’s actions including, without
 8   limitation, use of a false designation of origin which is likely to cause confusion, mistake,
 9   or deception as to origin, sponsorship, or approval of Defendants’ services, in violation
10   of 15 U.S.C. § 1125(a).The DISCOVERY marks have come to represent and symbolize
11   high quality development projects, and properties synonymous with luxury and
12   unparalleled service.
13            152.   Defendants are not authorized to use the DISCOVERY marks. In fact,
14   Defendants were specifically instructed to stop using the marks but their use continued,
15   unabated and Defendants have demonstrated an intent to resume use in the future.
16            153.   Defendants’ use of the “Discovery Global” name/mark (including in their
17   e-mail addresses) is and was intentional, willful, and in reckless disregard for DLC’s
18   trademark rights.
19            154.   Defendants’ actions described above has misappropriated and diminished
20   the value DLC’s created in the DISCOVERY marks.
21            155.   Defendants’ actions described above have unjustly enriched Defendants.
22            156.   Defendants’ actions described above have and will continuing to cause
23   irreparable injury to DLC in the future for which there is no adequate remedy at law.
24            157.   Defendants’ actions described above constitute false designation of origin
25   entitling DLC to remedies set forth in 15 U.S.C. §§ 1117 and 1118.
26            158.   At all material times, Buchan was acting as employee and/or agent of the
27   DG Defendants and/or Denton House. The DG Defendants and/or Denton House are
28   therefore liable for the harm and damages caused by Buchan’s unlawful conduct.
                                                   31
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 32 of 49




 1            159.   At all material times, the DG Defendants and Denton House were acting in
 2   concert and in furtherance of a joint enterprise and are therefore jointly and severally
 3   liable for the harm caused, debts and obligations of the other.
 4                                  THIRD CAUSE OF ACTION
 5                        Trademark Dilution under A.R.S. § 44-1448.01
 6                   (By DLC Against the DG Defendants and Denton House)
 7            160.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
 8   all previous allegations.
 9            161.   Defendants’ use and intended future use of the “Discovery Global”
10   name/mark is likely to cause dilution of the distinctive quality of DLC’s famous and
11   valuable marks and is likely to cause injury to DLC’s business reputation in violation of
12   A.R.S. § 44-1448.01.
13            162.   Defendants’ selection of the “Discovery Global” name/mark was done with
14   full knowledge and awareness of DLC’s famous marks.
15            163.   Defendants willfully intended to trade on DLC’s reputation and/or to cause
16   dilution to DLC’s famous marks.
17            164.   Defendants’ dilution of the DISCOVERY marks has caused and will
18   continue to cause irreparable injury and damage to DLC’s business, reputation, and
19   goodwill in the future for which there is no adequate remedy at law.
20            165.   At all material times, Buchan was acting as employee and/or agent of the
21   DG Defendants and/or Denton House. The DG Defendants and/or Denton House are
22   therefore liable for the harm and damages caused by Buchan’s unlawful conduct.
23            166.   At all material times, the DG Defendants and Denton House were acting in
24   concert and in furtherance of a joint enterprise and are therefore jointly and severally
25   liable for the harm caused, debts and obligations of the other.
26   ///
27   ///
28   ///
                                                   32
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 33 of 49




 1                                FOURTH CAUSE OF ACTION
 2                Common Law Trademark Infringement and Unfair Competition
 3                   (By DLC Against the DG Defendants and Denton House)
 4            167.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
 5   all previous allegations.
 6            168.   Defendants’ acts complained of herein constitute trademark infringement
 7   and unfair competition under the laws of the State of Arizona.
 8            169.   Defendants’ use and intended future use of their infringing “Discovery
 9   Global” name/mark is likely to cause Marketplace confusion to consumers of the State of
10   Arizona.
11            170.   Defendants    have    acted   with   intent,   through   multiple    business
12   communications, to cause Marketplace deception and confusion. Indeed, Defendants
13   have used the “Discovery Global” name/mark, the DISCOVERY marks and DLC’s
14   proprietary Customer Database in their efforts to confuse the public and to unfairly
15   compete with DLC for development business.
16            171.   Defendants’ acts complained of herein were intentional, wanton, willful,
17   and committed in bad faith with the intent to confuse and deceive the public.
18            172.   Defendants have been unjustly enriched and have caused damage to DLC’s
19   business, reputation, and goodwill.
20            173.   Additionally, DLC has federal and common law rights in the DISCOVERY
21   marks through the use of those marks in commerce, such rights existing long before any
22   use by Defendants of the “Discovery Global” name/mark.
23            174.   Defendants’ acts complained of herein constitute common law
24   infringement of the DISCOVERY marks.
25            175.   Upon information and belief, Defendants have undertaken these acts
26   willfully and with the intent to trade on DLC’s reputation and to cause confusion, mistake,
27   and deception.
28            176.   Defendants’ acts complained of herein have caused and will continue to
                                                   33
     76991854.1
     Case 2:20-cv-01940-MTL          Document 36       Filed 03/03/21    Page 34 of 49




 1   cause DLC irreparable harm in the future for which there is no adequate remedy at law.
 2   Upon information and belief, as a direct and proximate result of these violations, DLC
 3   has sustained actual losses and damages.
 4            177.    At all material times, Buchan was acting as employee and/or agent of the
 5   DG Defendants and/or Denton House. The DG Defendants and/or Denton House are
 6   therefore liable for the harm and damages caused by Buchan’s unlawful conduct.
 7            178.    At all material times, the DG Defendants and Denton House were acting in
 8   concert and in furtherance of a joint enterprise and are therefore jointly and severally
 9   liable for the harm caused, debts and obligations of the other.
10                                       FIFTH CAUSE OF ACTION
11                   Violation of the Defend Trade Secrets Act under 18 U.S.C. § 1836
12                (By DLC Against the DG Defendants, AC Defendants and Denton House)
13            179.    Plaintiffs re-allege and incorporate by reference as if fully set forth herein
14   all previous allegations.
15            180.    DLC owns and possesses certain confidential, proprietary and trade secret
16   information, as alleged above and includes, without limitation, DLC’s Customer
17   Database.
18            181.    DLC has taken reasonable measures to keep such information, including
19   the Customer Database, secret and confidential.
20            182.    Defendants wrongfully acquired, used and/or disclosed trade secrets within
21   the meaning of the Defend Trade Secrets Act, 18 U.S.C. § 1836, which belong to and are
22   proprietary to DLC and which derive economic value from the fact that they are not
23   known to others and which are not readily ascertainable by proper means by others.
24            183.    The trade secrets improperly acquired, used, and/or disclosed by
25   Defendants relate to DLC’s Customer Database.
26            184.    DLC’s Customer Database is a valuable and lucrative asset of DLC that
27   constitutes a legally protectable trade secret.
28            185.    DLC developed and retains all rights to the DLC’s Customer Database and
                                                    34
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36      Filed 03/03/21    Page 35 of 49




 1   all information contained therein.
 2            186.   DLC’s Customer Database is secret, of value, related to a product or service
 3   used in, or intended for use in, interstate or foreign commerce, and is thus a trade secret
 4   pursuant to 18 U.S.C. § 1836.
 5            187.   Defendants know, or have reason to know, that DLC does not consent to
 6   Defendants’ continued use of the Customer Database and, given the confidential and
 7   proprietary nature of the Customer Database, Defendants’ continued use of the Customer
 8   Database without permission from DLC violates 18 U.S.C. § 1836.
 9            188.   Defendants have wrongfully benefited from their misappropriation of
10   DLC’s trade secrets, and DLC has been damaged by this misappropriation in an amount
11   to be determined at trial.
12            189.   Defendant’s misappropriation of DLC’s trade secrets for their own benefit
13   was attended by circumstances of fraud, malice, and a willful and wanton disregard of
14   DLC’s rights. Thus, DLC is entitled to damages pursuant to 18 U.S.C. § 1836(b)(3)(C).
15            190.   DLC has been damaged by all of the foregoing and is entitled to an award
16   of exemplary damages and attorneys’ fees.
17            191.   As a result of Defendants’ misappropriation of DLC’s trade secrets, DLC
18   has suffered and will continue to suffer great and irreparable harm for which no adequate
19   remedy at law exists.
20            192.   Unless Defendants are preliminarily and permanently enjoined from further
21   misappropriation of DLC’s trade secrets, Defendants will continue to suffer great and
22   irreparable harm for which no adequate remedy at law exists.
23            193.   At all material times, Buchan and Carol Taylor were acting as employees
24   and/or agents of the DG Defendants, AC Defendants and/or Denton House. The DG
25   Defendants, AC Defendants and/or Denton House are therefore liable for the harm and
26   damages caused by Buchan and/or Taylor’s unlawful conduct.
27            194.   At all material times, the DG Defendants and Denton House were acting in
28   concert and in furtherance of a joint enterprise and are therefore jointly and severally
                                                  35
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36        Filed 03/03/21   Page 36 of 49




 1   liable for the harm caused, debts and obligations of the other.
 2            195.   At all material times, the AC Defendants and Denton House were acting in
 3   concert and in furtherance of a joint enterprise and are therefore jointly and severally
 4   liable for the harm caused, debts and obligations of the other.
 5                                     SIXTH CAUSE OF ACTION
 6                   Misappropriation of Trade Secrets under A.R.S. § 44-401, et seq.
 7          (By DLC Against the DG Defendants, AC Defendants and Denton House)
 8            196.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
 9   all previous allegations.
10            197.   DLC’s proprietary and confidential Customer Database constitutes a trade
11   secret as set forth in A.R.S. § 44-401, et seq.
12            198.   The Customer Database is of substantial value to DLC and also would be
13   of great value to its competitors.
14            199.   The information compiled and maintained in DLC’s Customer Database
15   could not be compiled from sources that are a matter of public knowledge.
16            200.   DLC maintained reasonable security measures to protect the secrecy and
17   confidentiality of its Customer Database.
18            201.   DLC’s Customer Database is protectable as a trade secret because it
19   represents a selective accumulation of detailed, valuable information about customers and
20   potential customers, business contacts and/or investors that would not naturally be
21   available to those in the business without substantial efforts to develop such information.
22            202.   DLC’s Customer Database was developed through substantial efforts to
23   identify and cultivate its customer base over the course of decades in the business.
24            203.   DLC’s Customer Database provides a source of competitive advantage to
25   DLC over others in the industry.
26            204.   Defendants have threatened to use and upon information and belief, are
27   using DLC’s Customer Database to market their real estate development business and
28   compete with DLC.
                                                   36
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 37 of 49




 1            205.   Defendants have misappropriated DLC’s trade secrets through improper
 2   means, disclosure and/or use of such trade secrets in violation of A.R.S. § 44-401, et seq.
 3            206.   Defendants have misappropriated DLC’s Customer Database for their own
 4   benefit and for the purpose of competing with DLC.
 5            207.   As a direct and proximate result of Defendants’ wrongful conduct, DLC has
 6   suffered and will continue to suffer, incalculable financial loss, loss of the confidentiality
 7   of its trade secrets as well as loss of competitive advantage, goodwill and other damages.
 8            208.   Without injunctive relief, DLC will suffer irreparable injury for which there
 9   is no adequate remedy at law.
10            209.   As a result of Defendants’ wrongful conduct, DLC is entitled to preliminary
11   and permanent injunctive relief, damages in an amount to be determined at trial and
12   attorneys’ fees and costs.
13            210.   At all material times, Buchan and Carol Taylor were acting as employees
14   and/or agents of the DG Defendants, AC Defendants and/or Denton House. The DG
15   Defendants, AC Defendants and/or Denton House are therefore liable for the harm and
16   damages caused by Buchan and/or Taylor’s unlawful conduct.
17            211.   At all material times, the DG Defendants and Denton House were acting in
18   concert and in furtherance of a joint enterprise and are therefore jointly and severally
19   liable for the harm caused, debts and obligations of the other.
20            212.   At all material times, the AC Defendants and Denton House were acting in
21   concert and in furtherance of a joint enterprise and are therefore jointly and severally
22   liable for the harm caused, debts and obligations of the other.
23                                SEVENTH CAUSE OF ACTION
24        False and Misleading Advertising and Promotion under 15 U.S.C. § 1125(a)
25                (By All Plaintiffs Against the AC Defendants and Denton House)
26            213.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
27   all previous allegations.
28            214.   Defendants, though the False and Misleading Advertisements, willfully,
                                                   37
     76991854.1
     Case 2:20-cv-01940-MTL          Document 36       Filed 03/03/21    Page 38 of 49




 1   deliberately, and egregiously made false and misleading statements of fact which were
 2   intended to, and did, mislead consumers.
 3             215.   Defendants’ False and Misleading Advertisements are literally false, either
 4   on their face or by necessary implication, or are materially misleading.
 5             216.   Defendants used the False and Misleading Advertisements to directly solicit
 6   consumers, including Integrated Resorts, which financially benefited Defendants and
 7   caused damages and harm to Plaintiffs.
 8             217.   Defendants’ False and Misleading Advertisements either deceived or had
 9   the capacity to deceive a substantial segment of relevant consumers.
10             218.   Defendants’ deception is material, in that it is likely to influence the
11   consumers’ decisions whether to retain the AC Defendants’ services.
12             219.   Defendants’ advertised services affect interstate commerce.
13             220.   Plaintiffs have been and continues to be injured as a result of these false and
14   misleading statements.
15             221.   Pursuant to 15 U.S.C. § 1117, Plaintiffs are entitled to recover (i) its actual
16   damages sustained as a result of the False and Misleading Advertising, (ii) Defendants’
17   profits resulting from their False and Misleading Advertising, and (iii) the costs of the
18   action.
19             222.   Furthermore, the conduct alleged herein was undertaken willfully and with
20   the intention of causing confusion, mistake, or deception, making this an exceptional case
21   entitling Plaintiffs to recover additional damages and reasonable attorneys’ fees under 15
22   U.S.C. § 1117.
23             223.   Defendants’ conduct has caused, and will continue to cause, immediate and
24   irreparable harm to Plaintiffs for which there is no adequate remedy at law. As such,
25   pursuant to 15 U.S.C. § 1116, Plaintiffs seek an injunction upon such terms as the Court
26   may deem reasonable, to prevent further violations by Defendants of 15 U.S.C. § 1125(a).
27             224.   At all material times, Buchan was acting as employee and/or agent of the
28   AC Defendants and/or Denton House. The AC Defendants and/or Denton House are
                                                    38
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 39 of 49




 1   therefore liable for the harm and damages caused by Buchan’s unlawful conduct.
 2            225.   At all material times, the AC Defendants and Denton House were acting in
 3   concert and in furtherance of a joint enterprise and are therefore jointly and severally
 4   liable for the harm caused, debts and obligations of the other.
 5                                 EIGHTH CAUSE OF ACTION
 6                                        Unjust Enrichment
 7                   (By DLC Against the DG Defendants and Denton House)
 8            226.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
 9   all previous allegations.
10            227.   DLC provided the DG Defendants financial resources, employee time and
11   effort, and limited authorized use of the DISCOVERY marks (until the relationship was
12   terminated and the authorization was expressly revoked) with the reasonable expectation
13   that DLC would receive compensation in the form of a controlling interest in the
14   operation, management and income of the venture.
15            228.   Defendants have economically benefitted from the contributions provided
16   by DLC and have been unjustly enriched to DLC’s detriment.
17            229.   It would be inequitable and unjust to allow Defendants to retain the
18   economic benefits conferred upon them without compensation to DLC.
19            230.   By engaging in the conduct complained of herein, Defendants will, through
20   continued use of “Discovery Global” name/mark induce consumers to conduct business
21   with Defendants.
22            231.   By engaging in the conduct complained of herein, Defendants have been,
23   or will be, unjustly enriched by Defendants’ ability to obtain business using marks
24   confusingly similar to the DISCOVERY marks.
25            232.   Defendants have been enriched by their misappropriation and use of DLC’s
26   proprietary and confidential Customer Database as described herein.
27            233.   Upon information and belief, Defendants have wrongfully used DLC’s
28   Customer Database to the detriment and harm of DLC.
                                                   39
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 40 of 49




 1            234.   As a proximate result of Defendants' unlawful conduct, Defendants have or
 2   will obtain revenues by which they will be unjustly enriched at DLC’s expense.
 3            235.   Under the circumstances alleged herein, it would be unfair and inequitable
 4   for Defendants to retain income, profits, or goodwill it unjustly obtains at the expense of
 5   DLC.
 6            236.   DLC has no adequate remedy at law.
 7            237.   As a result of Defendants' wrongful conduct, DLC is entitled to the
 8   preliminary and permanent injunctive relief requested herein and damages in an amount
 9   to be proven at trial.
10            238.   DLC further seeks an order establishing Defendants as constructive trustees
11   of any profits by which they are unjustly enriched, together with interest during the period
12   when Defendants retain such funds, and requiring Defendants to disgorge those funds to
13   DLC.
14            239.   At all material times, Buchan was acting as employee and/or agent of the
15   DG Defendants and/or Denton House. The DG Defendants and/or Denton House are
16   therefore liable for the harm and damages caused by Buchan’s unlawful conduct.
17            240.   At all material times, the DG Defendants and Denton House were acting in
18   concert and in furtherance of a joint enterprise and are therefore jointly and severally
19   liable for the harm caused, debts and obligations of the other.
20                                  NINTH CAUSE OF ACTION
21                                    Breach of Fiduciary Duty
22                               (By All Plaintiffs Against Buchan)
23            241.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
24   all previous allegations.
25            242.   Plaintiffs authorized Buchan to act as the President of Discovery Design
26   and COO of DLC, subject to Plaintiffs’ control.
27            243.   Buchan agreed to serve as the President of Discovery Design and COO of
28   DLC and did, in fact, provide services to Plaintiffs as their authorized agent.
                                                   40
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36        Filed 03/03/21         Page 41 of 49




 1            244.   Acting as Plaintiffs’ authorized agent, Buchan had the ability to affect the
 2   legal relations of Plaintiffs in its transactions with third parties.
 3            245.   In all matters and transactions connected to her agency relationship with
 4   Plaintiffs, Buchan had a fiduciary duty to: (i) act for the benefit of Plaintiffs; (ii) refrain
 5   from competing with Plaintiffs; (iii) deal fairly and in good faith with Plaintiffs; and (iv)
 6   disclose all facts relevant to Plaintiffs’ decision in accepting and continuing the agency
 7   relationship.
 8            246.   Intentionally, with knowledge that her conduct would cause substantial
 9   harm and for purposes of pecuniary gain, Buchan breached her fiduciary duties to
10   Plaintiffs by, inter alia:
11                   a.     failing to act for the benefit of Plaintiffs and in good faith for all
12   matters and transactions;
13                   b.     directing payments to Denton House exceeding the amounts due
14   under the terms of the ICA without disclosure to or approval from appropriate
15   disinterested and informed executives with authority to approve such payments;
16                   c.     directing Discovery Design to write off substantial amounts as “bad
17   debt” to benefit Denton House without disclosure to or approval from appropriate
18   disinterested and informed executives with authority to approve such payments;
19                   d.     operating the DG Defendants in competition with DLC prior to the
20   termination of the agency relationship;
21                   e.     using DLC’s brand and the DISCOVERY marks to solicit customers
22   and development projects on behalf of the DG Defendants;
23                   f.     using DLC’s Customer Database to promote and advance the
24   business operations of the DG Defendants;
25                   g.     failing to disclose that she was acting as agent for the DG Defendants
26   with respect to services performed in furtherance of DLC’s existing and prospective
27   development projects;
28                   h.     failing to disclose that her communications with DLC’s actual and
                                                    41
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 42 of 49




 1   prospective customers were intended to benefit the DG Defendants;
 2                   i.     attempting to usurp DLC’s business opportunities for the benefit of
 3   the DG Defendants; and
 4                   j.     attempting to destroy DLC’s business records to conceal unlawful
 5   activity.
 6            247.   As a direct and proximate result of Buchan’s breach of fiduciary duties,
 7   Plaintiffs have suffered and will continue suffer damages in an amount to proven at trial.
 8            248.   Plaintiffs are entitled to recover compensatory and punitive damages in an
 9   amount to be determined by a jury.
10                                 TENTH CAUSE OF ACTION
11                                    Breach of Fiduciary Duty
12                               (By Discovery Design Against Pace)
13            249.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
14   all previous allegations.
15            250.   Discovery Design authorized Pace to serve as its VP of Finance, subject to
16   Discovery Design’s control.
17            251.   Pace agreed to serve as Discovery Design’s VP of Finance and did, in fact,
18   provide services to Discovery Design as its authorized agent.
19            252.   Acting as Discovery Design’s authorized agent, Pace had the ability to
20   affect the legal relations of Discovery Design in its transactions with third parties,
21   including Denton House.
22            253.   In all matters and transactions connected to his agency relationship with
23   Discovery Design, Pace (a licensed CPA) had a fiduciary duty to: (i) act for the benefit
24   of Discovery Design; (ii) refrain from competing with Discovery Design; (iii) deal fairly
25   and in good faith with Discovery Design; and (iv) disclose all facts relevant to Discovery
26   Design’s decision in accepting and continuing the agency relationship.
27            254.   Pace breached his fiduciary duties to Discovery Design by, inter alia:
28                   a.     failing to act for the benefit of Discovery Design and in good faith
                                                   42
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 43 of 49




 1   for all matters and transactions;
 2                   b.     making payments to Denton House exceeding the amounts due
 3   under the terms of the ICA without informing or seeking approval from appropriate
 4   disinterested and informed executives with authority to approve such payments;
 5                   c.     making payments to Denton House without documentation to
 6   substantiate its invoices without informing or seeking approval from appropriate
 7   disinterested and informed executives with authority to approve such payments;
 8                   d.     writing off substantial amounts as “bad debt” to the detriment of
 9   Discovery Design without informing or seeking approval from appropriate disinterested
10   and informed executives with authority to approve such payments; and
11                   e.     failing to disclose wrongful acts committed by Denton House and
12   Buchan despite knowledge of their conduct.
13            255.   As a direct and proximate result of Pace’s breach of fiduciary duties,
14   Discovery Design has suffered and will continue suffer damages in an amount to proven
15   at trial.
16                               ELEVENTH CAUSE OF ACTION
17                                       Professional Negligence
18                               (By Discovery Design Against Pace)
19            256.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
20   all previous allegations.
21            257.   As a licensed CPA in the State of Arizona, Pace owed a duty to exercise
22   reasonable care, skill and diligence in performing services for Discovery Design.
23            258.   Pace breached his duties of care to Discovery Design by, inter alia:
24                   a.     failing to act for the benefit of Discovery Design and in good faith
25   for all matters and transactions;
26                   b.     making payments to Denton House exceeding the amounts due
27   under the terms of the ICA without informing or seeking approval from appropriate
28   disinterested and informed executives with authority to approve such payments;
                                                   43
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36      Filed 03/03/21     Page 44 of 49




 1                   c.     making payments to Denton House without documentation to
 2   substantiate its invoices without informing or seeking approval from appropriate
 3   disinterested and informed executives with authority to approve such payments;
 4                   d.     writing off substantial amounts as “bad debt” to the detriment of
 5   Discovery Design without informing or seeking approval from appropriate disinterested
 6   and informed executives with authority to approve such payments; and
 7                   e.     failing to disclose wrongful acts committed by Denton House and
 8   Buchan despite knowledge of their conduct.
 9            259.   As a direct and proximate result of Pace’s breach of duties, Discovery
10   Design has suffered and will continue suffer damages in an amount to proven at trial.
11                               TWELFTH CAUSE OF ACTION
12                             Aiding and Abetting Tortious Conduct
13         (By Discovery Design Against Denton House, Buchan and Joseph Buchan)
14            260.   Plaintiffs re-allege and incorporate by reference as if fully set forth herein
15   all previous allegations.
16            261.   The tortious conduct committed by Pace as described herein caused injury
17   to Discovery Design.
18            262.   Defendants knew that Pace’s conduct was unlawful and a breach of his
19   fiduciary duties as well as his duties of reasonable care.
20            263.   Defendants substantially directed, assisted, endorsed and encouraged Pace
21   in the achievement of his tortious conduct.
22            264.   Intentionally, with knowledge that their conduct would cause substantial
23   harm and for purposes of pecuniary gain, Defendants individually and in concert, ratified,
24   sanctioned, instructed and/or directed Pace to:
25                   a.     make payments to Denton House exceeding the amounts due under
26   the terms of the ICA;
27                   b.     make payments to Denton House without documentation to
28   substantiate its invoices; and
                                                   44
     76991854.1
     Case 2:20-cv-01940-MTL              Document 36      Filed 03/03/21     Page 45 of 49




 1                         c.    write off substantial amounts as “bad debt” to the detriment of
 2   Discovery Design.
 3            265.         As a direct and proximate result of Defendants’ acts, Discovery Design has
 4   suffered and will continue to suffer damages in an amount to be proven at trial.
 5            266.         Discovery Design is entitled to recover compensatory and punitive damages
 6   in an amount to be determined by a jury.
 7                                          PRAYER FOR RELIEF
 8            WHEREFORE, Plaintiffs respectfully request judgment and relief against
 9   Defendants as follows:
10            A.           An order entering judgment against Defendants and in favor of Plaintiffs
11   on all causes of action stated herein;
12            B.           A preliminary and permanent injunction prohibiting Defendants and any
13   employees, officers, members, managers, agents, representatives, successors, affiliates,
14   assigns and any entities owned or controlled by Defendants, and all those in active concert
15   and participation with Defendants, from:
16                    i.         using the “Discovery Global” name/ mark, or any other marks
17   confusingly similar to the DISCOVERY marks;
18                   ii.         using any trademark, service mark, name, logo, domain name, or
19   source designation that is a copy, reproduction, colorable imitation, or confusingly similar
20   to the DISCOVERY marks, or likely to cause consumer confusion, mistake, or to deceive
21   consumers that Defendants’ products originate from DLC or are authorized by, sponsored
22   by, endorsed by, or otherwise affiliated with DLC; and
23                 iii.          using the trade secrets of Plaintiffs including, but not limited to, its
24   Customer Database; and
25                   iv.         directly or indirectly engaging in false, misleading, or deceptive
26   advertising or promotions including, but not necessarily limited to, the False and
27   Misleading Advertising alleged herein or in any other electronic or print media or
28   materials.
                                                        45
     76991854.1
     Case 2:20-cv-01940-MTL         Document 36       Filed 03/03/21        Page 46 of 49




 1            C.     An order requiring Defendants to correct any erroneous impression
 2   customers may have derived concerning their use of the DISCOVERY marks or
 3   “Discovery Global” name/mark.
 4            D.     An order requiring Defendants to correct any erroneous impression
 5   customers may have derived concerning the nature, characteristics, or qualities of the
 6   Defendants’ services or the False and Misleading Advertisements;
 7            E.     An award to Plaintiffs for damages in an amount to be determined by a trier
 8   of fact for all harm caused by Defendants’ actions, including Defendants’ profits, the
 9   damages sustained by Plaintiffs, costs of the action, reasonable attorneys’ fees, treble
10   damages and profits as authorized by law and punitive damages;
11            F.     An award of Plaintiffs’ interest, including prejudgment interest, on the
12   foregoing amounts;
13            G.     An order requiring Defendants to provide for destruction of all products,
14   labels, signs, prints, advertisements or other materials in Defendants’ possession bearing
15   the infringing “Discovery Global” name/mark, or any other word, term, name, symbol,
16   device, or combination thereof, designation, description or representation that is a
17   reproduction, counterfeit, copy, or colorable imitation of the DISCOVERY marks;
18            H.     An order requiring Defendants to provide for destruction of Plaintiffs’ trade
19   secret information including, but not limited to, its Customer Database;
20            I.     An order establishing Defendants as constructive trustees of any profits by
21   which they are unjustly enriched, together with interest during the period when
22   Defendants retain such funds, and requiring Defendants to disgorge those funds to DLC;
23   and
24            J.     Any other relief the Court deems just and proper.
25                                         JURY DEMAND
26            Plaintiffs demand a trial by jury on all claims so triable.
27   ///
28   ///
                                                    46
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36        Filed 03/03/21   Page 47 of 49




 1            Dated this 3rd day of March, 2021.
 2
                                           By: /s/ Eric E. Lynch
 3
                                                  POLSINELLI PC
 4                                                Eric E. Lynch
                                                  Jonathan G. Brinson
 5                                                Michelle M. Buckley
 6                                                John R. Posthumus (Pro Hac Vice)
                                                  One East Washington St., Suite 1200
 7                                                Phoenix, AZ 85004
 8
                                                     O’MELVENY & MYERS LLP
 9                                                   Daniel M. Petrocelli (Pro Hac Vice)
                                                     Jeffrey A. Barker (Pro Hac Vice)
10                                                   1999 Avenue of the Stars, 8th Floor
11                                                   Los Angeles, CA 90067

12                                                 Attorneys for Plaintiff Discovery Land
                                                   Company, LLC and Discovery Design, LLC
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                    47
     76991854.1
     Case 2:20-cv-01940-MTL       Document 36          Filed 03/03/21   Page 48 of 49




                                         VERIFICATION
 1
              I, Michael S. Meldman, in my capacity as the founder and Chief Executive Officer
 2
     of Discovery Land Company, LLC and the managing-member of Discovery Managers,
 3
     LLC, the manager of Discovery Design, LLC declare that I have read and know the
 4
     contents of the foregoing Amended Verified Complaint, and as to the factual allegations
 5
     contained therein, believe them to be true and correct to the best of my knowledge
 6
     information and belief, which is formed by personal knowledge and/or the business
 7
     records of Plaintiffs. Pursuant to Rule 80(i), Ariz.R.Civ.P., I declare under penalty of
 8
     perjury that the foregoing is true and correct.
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  48
     76991854.1
     Case 2:20-cv-01940-MTL        Document 36      Filed 03/03/21    Page 49 of 49




 1                                CERTIFICATE OF SERVICE
 2            I hereby certify that on March 3, 2021, I electronically transmitted the foregoing
 3   document to the U.S. District Court Clerk’s Office using the CM/ECF System for filing
 4   and transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
 5   Douglas C. Northup
 6   FENNEMORE CRAIG, P.C.
     2394 E. Camelback Rd., Suite 600
 7   Phoenix, Arizona 85016
     dnorthup@fclaw.com
 8
 9   Stephen Q. Wood
     Jeffrey C. Wu
10   QUINN EMANUEL URQUHART & SULLIVAN, LLP
11   60 East South Temple Street, Suite 500
     Salt Lake City, Utah 84111
12   stephenwood@quinnemanuel.com
     jeffreywu@quinnemanuel.com
13
14
15   By: /s/ A. Renteria

16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  49
     76991854.1
